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Local AO 442 (Rev. LO/ET) Arrest Warrant S

UNITED STATES DISTRICT COURT
DISTRICT OF NORTH DAKOTA RECEIVED
UNITED STATES MARSEALS
AUG 20 2020
United States of America

v. )
riers Case No. 32040" ao DISTRICT OF NORTH DAKOTA
)
Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested) Chery! Lilley

who is accused of an offense or violation based on the following document filed with the court:

JF Indictment af Superseding Indictment Information 7 Superseding Information 1 Complaint
T Probation Violation Petition J Supervised Release Violation Petition TWViolation Notice © Order of the Court

This offense is briefly described as follows:

Conspiracy to Distribute and Possess with as to Distribute a Control ed Substance
Forfeiture Allegation

 

Date: 08/20/2020 /s/ Jackie Stewart
Issuing officers signature
City and state: Fargo, ND Jackie Stewart, Deputy Clerk

Printed name and title

 

Return l 13 262 ee

 

 

atts 5 Q-Ue-te
This warrant was received on (date) Avg oo. 020 and tae person was arrested on (dacPo5 Peep T ‘
at (city and state) .

wand state f Cowtt , MD

Date: G-al- 2620

  

Arresting officer's signature

Cloyte Ald | Saal Upon’

Printed name aitd title

 

 

 
